Case 1:19-cv-03312-CKK Document 1-12 Filed 11/04/19 Page 1 of 20

Exhibit 11 —

U.S. District Court of Western District of Texas, Austin Division Vicki
McLean, ET AL EX REL USA VS Mexico, Country of, ET AL
A19-CV0591RP filed July 8, 2019 Affidavit of Service providing evidence of
delivery but justifying reasons the U.S. Attorney General never really
received his delivery of case A19-CV0591RP from the USPS as shown on the
certified return receipt denying the U.S. Citizens’ rights to counsel
Case 1:19-cv-03312-CKK Document 1-12 Filed 11/04/19 Page 2 of 20

VICKI FANNING MCLEAN
ESTATE OF JAMES MCLEAN
ESTATE OF LOUIS FANNING, SR
EX REL

UNITED STATES OF AMERICA

PLAINTIFFS

vs

MEXICO, COUNTRY OF
1917 TO PRESENT

PRESIDENT OF MEXICO
1917 TO PRESENT

ANDRES LOPEZ OBRADOR
PRESIDENT OF MEXICO

CARLOS SALINAS DE GORTARIA
FORMER PRESIDENT OF
MEXICO

ENRIQUE PENA NIETO
FORMER PRESIDENT OF
MEXICO I

CIVIL ACTION: A19-CV-0591-RP

JUDGE ROBERT PITMAN

PATRIOT ACT OF 2001

ESPIONAGE ACT OF 1917

ALIEN REGISTRATION ACT 1940

IMMIGRATION AND
NATURALIZATION ACT OF
1924 AND 1952

SEDITION ACT OF 1918
MCCARRAN ACT OF 1952

TRADING WITH THE ENEMY
ACT OF 1917, 1939

BANK SECRECY ACT OF 1970

RACKETEER INFLUENCED AND
CORRUPT ORGANIZATIONS
ACT OF 1970

INTERNATIONAL IN TRAFFIC
IN ARMS REGULATION OF 1976

INVENTIONS SECRECY ACT OF
1951
Case 1:19-cv-03312-CKK Document 1-12 Filed 11/04/19 Page 3 of 20

CARLOS GONZALES GUTIERREZ INTERNAL SECURITY ACT OF
CONSUL GENERAL OF MEXICO 1950

AUSTIN, TEXAS

COLUMBA GARNIC GALLO
FORMER FIRST LADY OF
FLORIDA

HILDA SOLIS, FORMER
U.S. SEC. OF LABOR

ALBERTO GONZALES
FORMER U.S. ATTORNEY
GENERAL

XAVIER BECERRA, CALIFORNIA
ATTORNEY GENERAL FORMER

U.S. CONGRESSMAN

ABEL MALDONADO FORMER
CALIFORNIA
LIEUTENANT GOVERNOR

FABIAN NUNEZ FORMER
CALIFORNIA ASSEMBLY
SPEAKER

SUSANA MARTINEZ FORMER
GOVERNOR OF NEW MEXICO

BRIAN SANDOVAL, FORMER
GOVERNOR OF NEVADA

LINDA CHAVEZ THOMPSON
VICE CHAIR
AFL-CIO TRADE UNION

ED GARZA MAYOR OF
SAN ANTONIO, TEXAS

SEDITION ACT OF 1918
CIVIL RIGHTS ACT OF 1964

SOCIAL SECURITY ACT OF
1935 & 1965

ILLEGAL IMMIGRATION
REFORM AND IMMIGRANT
RESPONSIBILITY ACT OF 1996

EMPLOYMENT RETIREMENT

INCOME SECURITY ACT OF 1974
Case 1:19-cv-03312-CKK Document 1-12 Filed 11/04/19 Page 4 of 20

RON GONZALES
MAYOR OF SAN JOSE, CA .

MAJOR LEAGUE BASEBALL ORGANIZATION
UNITED STATES SOCCER FEDERATION
NATIONAL BASKETBALL ASSOCIATION
NATIONAL FOOTBALL LE LEAGUE

ROSARIO MARIN FORMER
US TREASURER

JULIAN CASTRO FORMER
U.S. SEC OF HOUSING & URBAN DEVELOPMENT

LUPE VALDEZ FORMER
SHERIFF OF DALLAS

ART ACEVEDO
HOUSTON POLICE CHIEF

ED GONZALES HARRIS COUNTRY,
TEXAS SHERIFF

HECTOR BALDERAS, JR.
NEW MEXICO ATTORNEY GENERAL

BARACK OBAMA
FORMER U.S. PRESIDENT

SILVESTRE REYES FORMER
TEXAS U.S. CONGRESSMAN

LORETTA SANCHEZ FORMER |
CALIFORNIA U.S. CONGRESSWOMAN

LINDA SANCHEZ CALIFORNIA
U.S. CONGRESSWOMAN
Case 1:19-cv-03312-CKK Document 1-12 Filed 11/04/19 Page 5 of 20

CIRO RODRIQUEZ FORMER TEXAS
U.S. CONGRESSMAN

RAUL GRIJALVA ARIZONA
U.S. CONGRESSMAN

TONY CARDENAS CALIFORNIA
U.S. CONGRESSMAN

JOAQUIN CASTRO TEXAS
U.S. CONGRESSMAN

PETE GALLEGO FORMER
TEXAS U.S. CONGRESSMAN

DARRAN SOTO FLORIDA
U.S. CONGRESSMAN

RAUL LABRADOR FORMER
IDAHO U.S. CONGRESSMAN

DAVID RIVERA FORMER
FLORIDA U.S. CONGRESSMAN

NYDIA VELAZQUEZ
CALIFORNIA U.S. CONGRESSWOMAN

NANETTE DIAZ BARRAGAN
CALIFORNIAU.S. CONGRESSWOMAN

SALUD CARBAJAL CALIFORNIA
U.S. CONGRESSMAN

RUBEN KIHUEN NEVADA
U.S. CONGRESSMAN

JIMMY GOMEZ CALIFORNIA
U.S. CONGRESSMAN
Case 1:19-cv-03312-CKK Document 1-12 Filed 11/04/19 Page 6 of 20

RUBEN GALLEGO ARIZONA
U.S. CONGRESSMAN

NORMA TORRES CALIFORNIA
U.S. CONGRESSWOMAN

RAUL RUIZ CALIFORNIA
U.S. CONGRESSMAN

GILBERT CISNEROS CALIFORNIA
U.S. CONGRESSMAN

LUIS JOSE CORREA CALIFORNIA
U.S. CONGRESSMAN

JESUS GARCIA ILLINOIS
U.S. CONGRESSMAN

XOCHITI TORRES SMALL
NEW MEXICO U.S. CONGRESSWOMAN

VINCENTE GONZALEZ TEXAS
U.S. CONGRESSMAN

VERONICA ESCOBAR TEXAS
U.S. CONGRESSWOMAN

BOB MENENDEZ .
NEW JERSEY U.S. SENATOR

MARCO RUBIO
FLORIDA U.S. SENATOR

KAMALA HARRIS
CALIFORNAI U.S. SENATOR

AMI BERA CALIFORNIA
U.S. CONGRESSMAN
Case 1:19-cv-03312-CKK Document 1-12 Filed 11/04/19 Page 7 of 20

PRAMILA JAYAPAL WASHINGTON
U.S. CONGRESSWOMAN

ROHIT KHANNA
U.S. CONGRESSMAN

RAJA KRISHNAMOORTHI
ILLINOIS U.S. CONGRESSMAN

JENNIFER GONZALEZ-COLON
PUERTO RICO U.S. CONGRESSWOMAN

ESTEBAN EDWARD TORRES
FORMER CALIFORNIA
U.S. CONGRESSMAN

JOE BACA FORMER CALIFORNIA
U.S. CONGRESSMAN

-ALBIO SIRES NEW JERSEY
U.S. CONGRESSMAN

FRANCISCO RAUL CANSECO FORMER
TEXAS U.S. CONGRESSMAN

CARLOS CURBELO FLORIDA
U.S. CONGRESSMAN

DEBBIE MUCARSEL-POWELL
FLORIDA U.S. CONGRESSWOMAN

ALEXANDRIA OCASIO-CORTEZ NEW YORK
U.S. CONGRESSWOMAN

LUIS GUTIERREZ FORMER ILLINOIS
U.S. CONGRESSMAN

RAUL LABORADOR FORMER IDAHO
U.S. CONGRESSMAN
Case 1:19-cv-03312-CKK Document 1-12 Filed 11/04/19 Page 8 of 20

SYLVIA GARCIA TEXAS
U.S. CONGRESSWOMAN

SILVESTRE REYES FORMER TEXAS
U.S. CONGRESSMAN AND U.S. BORDER
PATROL AGENT

ILHAN OMAR MINNESOTA
U.S. CONGRESSWOMAN

RASHIDA TLAIB MICHIGAN
U.S. CONGRESSWOMAN

MAZIE HIRONO HAWAII
U.S. CONGRESSWOMAN

JUSTIN AMASH MICHIGAN
_ U.S. CONGRESSMAN

GRACE MENG NEW YORK
U.S. CONGRESSWOMAN

YVETTE CLARK NEW YORK
U.S. CONGRESSWOMAN

CARLOS CURBELO FLORIDA
U.S. CONGRESSMAN

MARIO DIAZ-BALART FLORIDA
U.S. REPRESENTATIVE

ANDY HARRIS MARYLAND
U.S. CONGRESSMAN

_ TED LIEU CALIFORNIA
U.S. CONGRESSMAN

MIA LOVE FORMER UTAH
U.S. CONGRESSWOMAN
Case 1:19-cv-03312-CKK Document 1-12 Filed 11/04/19 Page 9 of 20

LLEANA ROS-LEHTINEN FLORIDA
U.S. CONGRESSMAN

JUAN VARGAS CALIFORNIA
U.S. CONGRESSMAN

ANTHONY BROWN MARYLAND
U.S. CONGRSSMAN

SALVADOR MENDOZA, JR
U.S. FEDERAL JUDGE

MARINA MARMOLEJO
U.S. FEDERAL JUDGE

EVA MARTINEZ GUZMAN
TEXAS SUPREME COURT JUDGE

RUBEN CASTILLO
U.S. FEDERAL JUDGE

JESUS GILBERTO BERNEL
U.S. FEDERAL JUDGE

ALBERT DIAZ
U.S. FEDERAL JUDGE

MARY H. MURGUIA
U.S. FEDERAL JUDGE

JULIO FUENTES
U.S. FEDERAL JUDGE

SONIA SOTOMAYOR
U.S. SUPREME COURT JUSTICE

VICTOR MARRERO
U.S. FEDERAL JUDGE
Case 1:19-cv-03312-CKK Document 1-12 Filed 11/04/19 Page 10 of 20

CARLOS MORENO
FORMER U.S. FEDERAL JUDGE
U.S. AMBASSADOR TO BELIZE

DANIEL DOMINGUEZ
U.S. FEDERAL JUDGE

XAVIER RODRIGUEZ
U.S. FEDERAL JUDGE

JOSE MARTINEZ
U.S. FEDERAL JUDGE

JUAN RAMON SANCHEZ
U.S. FEDERAL JUDGE _

PHILLIP GUTIERREZ
U.S. FEDERAL JUDGE

GONZALO P. CURIEL
U.S. FEDERAL JUDGE

JOHN ANTHONY MENDEZ
U.S. FEDERAL JUDGE

RUDOLPH CONTRERAS
U.S. FEDERAL JUDGE

MARY HELEN MURGUIA U.S. FEDERAL
COURT OF APPEAL FEDERAL JUDGE

MARCO LOPEZ FORMER
CHIEF OF STAFF OF U.S.
CUSTOMS AND BORDER PROTECTION

LINA HIDALGO TEXAS
HARRIS COUNTY JUDGE
HARVARD GRADUATE
Case 1:19-cv-03312-CKK Document 1-12 Filed 11/04/19 Page 11 of 20

ADRIAN GARCIA, HARRIS
COUNTY COMMISSIONER

SILVIA TREVINO HARRIS COUNTY
PRECINCT 6 CONSTABLE

TOM PEREZ FORMER ASSISTANT
ATTORNEY GENERAL FOR CIVIL RIGHTS

ALEXANDER ACOSTA U.S. SECRETARY
OF LABOR

WAN KIM FORMER ASSISTANT ATTORNEY
GENERAL FOR CIVIL RIGHTS

MARGARITA SANCHEZ FORMER LATINA
COMMISSIONER FOR THE HISPANIC
NATIONAL BAR ASSOCIATION

~ REGINA RODRIGUEZ FORMER ASSISTANT

U.S. ATTORNEY IN COLORADO

SOFIA ADROGUE TEXAS ATTORNEY
HARVARD GRADUATE

SEEMA VERMA U.S. ADMINISTRATOR
FOR THE CENTERS FOR MEDICARE AND
MEDICAID SERVICES

JOSE ALTUVE
VENEZALAN ASTROS PLAYER

CARLOS CORREA PUERTO
RICAN ASTROS PLAYER

ALEXANDER RODRIQUEZ
DOMINICAN FORMER
NEW YORK YANKEE PLAYER

JENNIFER LOPEZ PUERTO RICAN
KNOWN AS JLO CELEBRITY

10
Case 1:19-cv-03312-CKK Document 1-12 Filed 11/04/19 Page 12 of 20

BELCALIS MARLENIS ALMANZAR
KNOWN AS CARDIB
DOMINICAN/TRINIDADA CELEBRITY

ARMANDO CHRISTIAN PEREZ
KNOWN AS PIT BULL
CUBAN CELEBRITY

ROBYN RIHANNA FENTY
BARBADIAN CELEBRITY

NICKI MINAJ
TRINADAD CELEBRITY

PETER GENE HERNANDEZ

KNOWN AS BRUNO MARS
PUERTO RICAN

DEFENDANTS

AFFIDAVIT OF SERVICE FOR
CASE A19-CV-0591-RP

Motion to record the certified return receipt of the delivery of Vicki McLean, ET AL
EX REL USA VS MEXICO, COUNTRY OF, ET AL to the U.S. Attorney General
William Barr under USPS tracking number 7018 0680 0001 0268 4946 mailed on
June 11, 2019 and indicating received on June 17, 2019.

Due to being absolutely certain that all previous USPS mailings of federal cases filed
by Vicki McLean, ET AL EX REL USA were never really delivered to the U.S.
Attorney Generals of the United States and the U.S. Attorney except for the ones
hand delivered personally to the New Orleans U.S. Attorney office in 2015 — April

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of 2018 there is great certainty that U.S. Attorney General William Barr never
actually was allowed to receive U.S. District Court of Western District of Texas Case
A19-CV-0591-RP,A19-CV-0647-RP AND A19-CV0648-RP similar to U.S.
District Court of Western District of Texas Case A18-CV-1021 RP denying the
Vicki McLean, ET AL EX REL USA and the US. Citizens their rights to counsel
and due process having altered the original filing indicated in the forged order of
Judge Robert Pitman dated on June 18, 2019 for case A18-CV-1021-RP that
required Judge Pitman to address the case having been filed also for the U.S. Citizens
requiring the U.S. Attorney General to file in a motion to address the non-acceptance
of the case for the U.S. Citizens with reasoning. Due to Acting U.S. Attorney General
Matthew Whitaker and U.S. Attorney General William Barr obviously having no
knowledge of the case A18-CV-1021-RP that includes all previous federal cases
filed by Vicki McLean for the U.S. Citizens beginning on Dec. 21, 2007 in U.S.
District Court of Eastern District of Louisiana in New Orleans 07-9717 with Judge
Thomas Porteous and Magistrate Daniel Knowles no motion was filed by the U.S.
Attorney General Office to accept, to reject, or dismiss the case denying the U.S.
Citizens and Vicki McLean ET AL rights to counsel and rights to due process. It was
_ proven in Magistrate Judge Daniel Knowles, III courtroom on 12/29/2015 in New
Orleans when Vicki McLean gave testimony that Magistrate Judge Daniel Knowles
and Judge Thomas Porteous never received case 07-9717 assigned to their court filed
EX REL United States of America. The Medicare and Medicaid fraud exposed in
case 07-9717 has been so massive by the Federal Reserve Shareholders since 1998
that no federal judge would ever be allowed to grant the U.S. Citizens their rights to
due process or rights to counsel. For these reasons all of Vicki McLean’s EX REL
USA cases have been altered and forged the judges’ orders and the assistant U.S.
Attorneys motions dismissing the cases never allowing Vicki McLean in front of the

real Federal Judges assigned the case. After meeting in court with Magistrate Judge

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Daniel Knowles, III and Assistant U.S. Attorney James Beahr from the New Orleans
US. Attorney on Dec. 29, 2015 giving testimony and handing the previously filed
federal cases filed EX REL USA by Vicki McLean Judge Daniel Knowles, III and
US. Attorney Office in New Orleans had all the proof they needed that all Vicki
McLean’s EX REL Cases were never received by federal judges and the U.S.
Attorney General Office and U.S. Attorney in Charge also never received the cases
denying the U.S. Citizens their rights to due process and their rights to counsel. All
testimony of Vicki McLean, Federal Judge Daniel Knowles, Assistant U.S. Attorney
James Baehr, and all witnesses testimonies given on Dec. 29, 2015 were altered
drastically in the file records of the citation case hearing 15-CR-0205 including the
Notice of Appeal filed within a week. A motion to leave was filed in the case
addressing alteration and deletion of records and exhibits filed with the Notice of
Appeal for 15-CR-0205. The Appeal was denied being a forgery by 3 judges from
the Fifth Circuit Court of Appeals. The U.S. District Clerk Office in New Orleans
and Federal Judge Daniel Knowles refusing to notify the Foreign Intelligence
Surveillance Court of the forgeries and forgeries of Intelligence Judge Martin
Feldman resulted in the murder of plaintiff Alexander Fanning in Dallas in May
2018 one month after filing federal case 18-3462 in the Eastern District of Louisiana,
New Orleans District assigned originally with Judge Martin Feldman on April 2,
2018. Alexander Fanning murder was falsely classified as a suicide and was done to
intimidate Vicki McLean family members living in Louisiana which is 7 out of 9
siblings to be used again like in 2005 and 2011 to do a illegal arrest and illegally
psychiatric commitment based on fraudulent Order for Protective Custody that
would be forged like in 2005 and 2011 to aid in justification of dismissal of all cases
placed under Judge Martin Feldman without his knowledge since Sept. 28, 2016 so
no assistant U.S. Attorney would be needed to file a motion to dismiss if placed with

the Judge Martin Feldman on Sept.28, 2016 being at the time a member of the

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Foreign Intelligence Surveillance Court. Clearly the U.S. Federal Court System and
U.S. Attorney Office in New Orleans is liable for the murder of Alexander Fanning
due to not fulfilling their oath of office to uphold the U.S. Constitution and their
moral obligation to put others lives first before their lives just by revealing the truth

and recording the truth.

This is why the physical and financial attacks on the McLean family and the Fanning
Clan continues in order to stop the Foreign Intelligence Surveillance Court actually
in charge of all Vicki McLean’s federal cases surely including A18-1021-RP and
A19-CV-5091-RP, A19-CV-0647-RP, A19-CV-0648-RP to stop Vicki McLean
from continuing to file cases against different defendants under the Patriot Act, etc.
to better enable the FISC to address all individuals, governments, and entities

involved in the massive theft of U.S. funds, etc.

It is certain that all past orders and future orders dismissing cases filed by Vicki
McLean, ET AL EX REL USA have been and will be forged denying Vicki McLean,
ET AL and the U.S. Citizens their rights to counsel and rights to due process. In the
Western District of Texas, Austin Division the likely universities involved in the
forgery of judges’ order and attorney’s motions would be the University of Texas,
Texas A&M and Harvard University. The University of Texas and Texas A&M
involvement in altering and forging the judge’s orders and attorney motions of Vicki
McLean federal and state cases were addressed in a federal case filing in the U.S.
District Court of Eastern Louisiana 17-5578. Vicki McLean intends to file a separate
case against Harvard University in Boston in the future to address all Harvard
University involvement in the forging of the judges’ orders of Vicki McLean’s
federal cases and Supreme court justices orders. There is a very high probability due
to case 17-5578 that Harvard University was involved in the forgery of U.S. District
Court of Eastern District of Louisiana cases 16-15001, 18-911, and of U.S. District

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Court of Western District of Texas Case A18-1021-RP. The forgery of Judge Robert
Pitman’s order on 6/18/2019 becomes obvious when the order does not acknowledge
the case filed for the U.S. Citizens and no mention of no motion being filed by the
U.S. Attorney General Office to either accept, reject, or motion to dismiss the case.
Consistent with all previously filed EX REL Cases by Vicki McLean the original
filing filed by Vicki McLean Pro Se was altered to remove all information to protect
the Federal Reserve Shareholders and all universities involved in the forgery of all
previously filed Vicki McLean, ET AL EX REL USA, Pro Se.

Respectfully submitted Pro Se

for the U.S. Citizens and Plaintiffs
Pro Se, July 8, 2019

Vicki Fanning McLean, Pro SE

7203 Oakwood Glen Blvd Apt. 80415
Spring, Texas 77379

832-610-1059
Vickimclean54@yahoo.com

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se 1:19-cv-03312-CKK Document 1-12 Filed 11/04/19 Page 17 of 20

AFFIDAVIT OF SERVICE CASE - A19-CV
: - A19-CV-0591-RP
CERTIFIED RETURN RECEIPT 7018 0680 0001 0268 4946
ORIGINAL FILED WITH COURT ON JUNE 25, 2019
USPS 7018 0680 0001 0268 4946 CASH RECEIPT

FILED JULY 8™! WITH AFFIDAVIT OF SERVICE

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Preview your Mail
Track your Packages
Case 1:19-cv-03312-CKK Document 1-12 Filed 11/04/19 Page 18 of 20

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Affidavit of Service Case AI8-CV=5094-RP

Certified Return Receipt 7018 0680 0001 0268 4946
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Case 1:19-cv-03312-CKK Document 1-12 Filed 11/04/19 Page 19 of 20

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Track Another Package +

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Tracking Number: 701806800001 02684946

Your item was delivered at 4:54 am on June 17, 2019 in WASHINGTON, DC 20530.

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June 17, 2019 at 4:54 am
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WASHINGTON, DC 20530

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Tracking History

June 17, 2019, 4:54 am

Delivered

WASHINGTON, DC 20530

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June 14, 2019, 11:52 am
Available for Pickup
WASHINGTON, DC 20530

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~ June 14, 2019, 9:22 am
Arrived at Unit
WASHINGTON, DC 20018

June 14, 2019, 5:42 am
Arrived at USPS Facility
WASHINGTON, DC 20022

June 13, 2019, 10:18 am
Arrived at USPS Regional Facility
WASHINGTON DC DISTRIBUTION CENTER

June 13, 2019, 8:09 am
_ Departed USPS Regional Facility
- DULLES VA DISTRIBUTION CENTER

. June 12, 2019, 11:00 pm
Arrived at USPS Regional Facility
DULLES VA DISTRIBUTION CENTER

June 12, 2019
In Transit to Next Facility

June 11, 2019, 4:55 pm
Arrived at USPS Regional Origin Facility
NORTH HOUSTON TX DISTRIBUTION CENTER

June 11, 2019, 1:33 pm
USPS in possession of item
SPRING, TX 77379

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Product Information

